CTJ         Case: 21-10076    Document: 00516137220 Page: 1 Date Filed: 12/20/2021
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      FILED
  December 21, 2021
   KAREN MITCHELL
                         United States Court of Appeals
 CLERK, U.S. DISTRICT
       COURT
                              for the Fifth Circuit                          United States Court of Appeals
                                                                                      Fifth Circuit

                                                ___________                         FILED
                                                                             October 27, 2021
                                                 No. 21-10076                  Lyle W. Cayce
                                                ___________                         Clerk

               United States of America,

                                                                        Plaintiff—Appellee,

                                                      versus

               Juan Jimenez-Nava

                                                         Defendant—Appellant.
                                ______________________________

                          Application for a Certificate of Appealability from the
                      United States District Court for the Northern District of Texas
                                         USDC No. 4:20-CV-476 -A
                              ______________________________

               ORDER:
                        IT IS ORDERED that the Appellant’s motion for a Certificate of
               Appealability is DENIED.
                        IT IS FURTHER ORDERED that the Appellant’s motion to
               proceed in forma pauperis on appeal is DENIED.


                                                      /s/ James E. Graves, Jr.
                                                      ___________________________
                                                      James E. Graves
                                                       United States Circuit Judge

             A True Copy
             Certified order issued Dec 20, 2021


             Clerk, U.S. Court of Appeals, Fifth Circuit
